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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    NAVY SEAL 1, et al.,

          Plaintiffs,

    v.                                           CASE NO. 8:21-cv-2429-SDM-TGW

    LLOYD AUSTIN, et al.,

          Defendants.
    __________________________________/


                                           ORDER

          In the amended complaint, the plaintiffs, comprising thirty-three service mem-

    bers, two civilian federal employees, and one federal contractor, sue (Doc. 75) to en-

    join the “Federal COVID-19 Vaccine Mandate,” including Executive Order 14042,

    Executive Order 14043, an August 24, 2021 memorandum issued by Secretary Aus-

    tin, and “all related, resulting, subsequent, amended, or superseding federal orders or

    directives.” (Doc. 75 ¶ 92) As the parties agreed during a February 10, 2022 hear-

    ing, this action warrants severance.

          To effect more efficient case management and under Rule 21, Federal Rules of

    Civil Procedure, the non-service member plaintiffs and their claims are SEVERED.

    The clerk must open two new civil cases assigned to me and Magistrate Judge

    Thomas G. Wilson. In each new case, the clerk must file in the following order the
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    following items (including any attachments) from this case (8:21-cv-2429), and each

    item will stand in the severed case as if filed on the dated filed in 8:21-cv-2429.

          1.     This order.

          2.     The amended complaint. (Doc. 75)

          3.     The pending motion for a preliminary injunction. (Doc. 2)

          4.     The pending motion for class certification. (Doc. 35)

          5.     The order on the motion for preliminary injunction. (Doc. 40)

          6.     The opposition to class certification. (Doc. 42)

          7.     The supplemental memorandum in support of a preliminary injunction.
                 (Doc. 51)

          8.     The pending motion to proceed pseudonymously. (Doc. 55)

          9.     The supplemental opposition to a preliminary injunction. (Doc. 74)

          10.    The opposition to proceeding pseudonymously. (Doc. 79)

          Not later than FEBRUARY 21, 2022, the plaintiffs (1) must amend the com-

    plaint in the lower-numbered new case to proceed on behalf of the federal employees

    only, (2) must amend the complaint in the higher-numbered new case to proceed on

    behalf of the federal contractors only, and (3) must amend the complaint in this ac-

    tion (8:21-cv-2429) to proceed on behalf of the service members only. Each motion




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    pending in this action (8:21-cv-2429) is DENIED AS MOOT to the extent the mo-

    tion requests relief on behalf of non-service members.

          No party waives or otherwise loses any claim, defense, or objection due to this

    severance, and no party’s time to file or respond to any paper is affected by this sev-

    erance.

          ORDERED in Tampa, Florida, on February 12, 2022.




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